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                     AFFIDAVIT IN SUPPORT OF COMPLAINT



          I, Joseph S. Crawford, Special Agent with Homeland Security Investigations (HSI),

United States Department of Homeland Security, being duly sworn, deposes and states under

penalty of perjury that the following is true to the best of my information, knowledge and

belief.

                     INTRODUCTION AND AGENT BACKGROUND

     1.          I am a Special Agent with Homeland Security Investigations (HSI), United

States Department of Homeland Security, and as such I am empowered under Title 19, United

States Code, section 1589, to enforce the criminal laws of the United States, to make arrests and

obtain and execute search, seizure, and arrest warrants. I have been employed as a HSI special

agent for fifteen months. Before being duly sworn as a special agent with HSI, I completed the

Criminal Investigator Training Program and HSI Special Agent Training at the Federal Law

Enforcement Training Centers. Prior to my employment with HSI, I was a FBI Police Officer

for four and a half years. In connection with my official duties, I investigate criminal violations

of the Controlled Substances Act. During my time with HSI, I have been involved in various

types of electronic surveillance, in the execution of a search warrant, and in the debriefing of

informants, as well as others who have knowledge of the distribution and transportation of

controlled substances, and of the laundering and concealing of proceeds from controlled

substance trafficking. I have also been involved in the analysis of toll and financial records.

     2.          I am currently participating in the investigation of narcotics trafficking that

occurred in January and February 2025 in Durango, Colorado, and the surrounding vicinity.

As a result of my personal participation in the investigation described herein and my review
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of the reports, both written and oral, made to me by other law enforcement, witnesses, and

other concerned parties, I am familiar with the circumstances of the facts and information

contained in this affidavit. I have not included each and every fact known to me concerning

this investigation and I have only included those facts that establish probable cause for this

Complaint.

     3.        This affidavit is made in support of a criminal complaint against Daniel

RIVERA-Munoz, date of birth 01/07/1989, for a violation of 18 U.S.C. 922(g)(5) –

Possession of a Firearm by an Alien Unlawfully in the United States. This affidavit is

intended to set forth probable cause in support of the criminal complaint and does not purport

to set forth all my knowledge regarding this investigation.

                                   PROBABLE CAUSE

4.     On January 8, 2025, Your Affiant and other law enforcement officers met with an inmate

at the La Plata County Jail. The inmate expressed interest in working with HSI as a confidential

informant (CI) in exchange for immigration status and monetary compensation. The CI stated

they could identify new sources of supply (SOS) of methamphetamine and fentanyl from

Mexico. On January 16, 2025, HSI Investigators met with the CI. They stated they were

working on establishing a relationship with a new SOS that Investigators identified as Juan

Manuel LORENZANA-Ruvalcaba. The CI stated they were discussing the purchase of fentanyl

tablets and the distribution of them in and around Durango, Colorado. The CI stated they agreed

to purchase, “10,000 blues for 20,000 dollars is 2 dollars for pill.” Your Affiant is familiar from

my training and experience that, “blues,” is commonly used narcotics slang for fentanyl tablets.

The CI informed HSI investigators that they could provide a recorded call as well as screenshots

of text messages in which the deal to purchase fentanyl tablets was discussed and agreed to.
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5.     The CI provided HSI Investigators LORENZANA-Ruvalcaba’s telephone number 505-

419-4052 and a screenshot of the contact photo. The CI was provided with the New Mexico

driver’s license photo of LORENZANA-Ruvalcaba which the CI confirmed was the same

individual. On February 8, 2025, HSI Investigators issued a subpoena for 505-419-4052 to the

communications provider; the responsive records showed that the 505-419-4052 number is

registered to a Juan LORENZANA.

6.     On February 7, 2025, the CI contacted HSI Investigators to inform them that they were

negotiating logistics with LORENZANA-Ruvalcaba to bring approximately ten thousand

fentanyl tablets to Durango, Colorado. These discussions lasted several days and, according to

the CI, and a plan was agreed to that on February 12, 2025, LORENZANA-Ruvalcaba would be

returning to the Durango area from Phoenix, Arizona with ten thousand fentanyl tablets.

LORENZANA-Ruvalcaba originally told the CI that they could meet in the afternoon before

ultimately pushing the meeting until the morning of February 13, 2025.

7.     HSI investigators queried LORENZANA-Ruvalcaba in NCIC/CCIC and found an

associated address of 907 Cimarron Ave, in Aztec, New Mexico listed on his New Mexico

Driver’s License return. There was also an expired New Mexico Vehicle Registration with the

address of 818 E Main St Trlr 48, Farmington, New Mexico. The CI informed HSI investigators

that LORENZANA-Ruvalcaba was driving a white Toyota Corolla. HSI TFO Detective Derrick

Gallegos conducted surveillance on both addresses associated with LORENZANA-Ruvalcaba on

the evening of February 12, 2025. TFO Gallegos observed a white Toyota Corolla bearing New

Mexico plate BTJC03 pull up and park near 818 E Main St . The vehicle was registered to a

Maria Duran Garcia at 907 Cimarron Ave, Aztec, New Mexico (the other addresses associated

with LORENZANA-Ruvalcaba).
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8.     HSI investigators ran the license plate through Flock Safety, a license plate tracking

system, that showed the vehicle was in Arizona at approximately 1526 hours on February 12,

2025, and then back in New Mexico at 2046 hours later that night. This was consistent with

LORENZANA-Ruvalcaba telling the CI that he was returning from Phoenix, Arizona with the

fentanyl tablets. A screenshot of the Flock Safety record is below:




10.    LORENZANA-Ruvalcaba informed the CI that he would met them in Durango, Colorado
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on the morning of February 13, 2025 at approximately 1000 hours. HSI investigators and

Colorado State Patrol waited for the vehicle on US Highway 550. HSI TFO Gallegos observed a

white Toyota Corolla headed north east on Main Avenue in Farmington, New Mexico, towards

Durango at approximately 0850 hours. HSI TFO Gallegos later confirmed it was the same

vehicle suspected to be driven by LORENZANA-Ruvalcaba.

11.    Colorado State Patrol Trooper Robert Howell located the Toyota Corolla bearing license

plate number BTJC03 at the start of Farmington Hill headed into Durango, Colorado. CSP

Trooper Howell observed the vehicle cross over the solid marked line delineating two lanes and

initiated a traffic stop on the vehicle. The vehicle was occupied by LORENZANA-Ruvalcaba in

the driver’s seat and Daniel RIVERA-Munoz in the passenger seat. Trooper Howell observed

what appeared to be a plastic bag that was partially wrapped up in the center console of the

vehicle.

12.    The location, time, and vehicle LORENZANA-Ruvalcaba was driving was consistent

with the CI’s information provided to law enforcement regarding the possession of narcotics in

the car and was further corroborated by the Flock system, described above.

13.    Investigators sealed the vehicle and towed the SUBJECT VEHICLE to the HSI Durango

Office pending a search warrant.

14.    At approximately 1243 hours, HSI Special Agent Joseph Crawford and CSP Trooper

Howell conducted an interview of RIVERA-Munoz. CSP Trooper Howell and Special Agent

Crawford utilized Lionbridge Language Services to translate from English to Spanish and

Spanish to English. Special Agent Crawford introduced the translator, identification number

4603, and the translator spoke with RIVERA-Munoz to explain they would translate agent’s

questions from English to Spanish and translate RIVERA-Munoz’s statements from Spanish to
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English. Special Agent Crawford read RIVERA-Munoz his Miranda rights. RIVERA-Munoz

stated he understood his rights and was willing to speak with HSI Investigators. RIVERA-

Munoz told Investigators he is friends with LORENZANA-Ruvalcaba and was with him in the

vehicle obtaining a ride to a job site. RIVERA-Munoz told investigators he works on a ranch in

Aspen, Colorado. RIVERA-Munoz told investigators the shotgun in the rear of the vehicle was

his and was a gift from his girlfriend. Investigators asked RIVERA-Munoz if he knew anything

about narcotics in the vehicle and RIVERA-Munoz said he did not. Investigators concluded the

interview at approximately 1315 hours.

15.      On February 13, 2025, the Honorable Magistrate Judge James Candelaria authorized a

search warrant for the Toyota Corolla bearing New Mexico license plate BTJC03 that

LORENZANA-Ruvalcaba was driving. HSI Investigators began the search at approximately

1520 hours. Investigators found approximately 1.2 kilograms of blue pills (approximately

10,000 individual pills). Based on Your Affiant’s training and experience, and the context of this

investigation (including the descriptions by LORENZANA-Ruvalcaba, Your Affiant submits

that there is probable cause to believe that these pills contain fentanyl. Further, investigators

found approximately 480 grams of suspected methamphetamine, approximately 188 grams of

cocaine and numerous individually wrapped baggies that were packaged for distribution.

Investigators used the TruNarc field handheld narcotics analyzer on the suspected

methamphetamine and cocaine; each came back presumptively positive for the respective

suspected substances. The narcotics were found in a maroon-colored backpack on the floor of

the passenger seat of the vehicle. Investigators also found a loaded shotgun and approximately 8

shotgun shells in the vehicle. HSI Investigators concluded the search at approximately 1545

hours.
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16.    At approximately 1656 hours, HSI Special Agent Joseph Crawford and TFO Gallegos

conducted an interview of RIVERA-Munoz. TFO Gallegos and Special Agent Crawford utilized

Lionbridge Language Services to translate from English to Spanish and Spanish to English.

Special Agent Crawford introduced the translator, identification number 7609, and the translator

spoke with RIVERA-Munoz to explain they would translate agent’s questions from English to

Spanish and translate RIVERA-Munoz’s statements from Spanish to English. Special Agent

Crawford read RIVERA-Munoz his Miranda rights. RIVERA-Munoz stated he understood his

rights and was willing to speak with HSI Investigators. Investigators asked RIVERA-Munoz if

he wanted to change any of hi statements from his first interview. MUNOZ-Rivera stated he did

not. Special Agent Crawford asked RIVERA-Munoz about his immigration status. RIVERA-

Munoz stated he knew he was unlawfully in the country. Special Agent Crawford asked

RIVERA-Munoz if he knew that it was illegal for him to have a firearm given that he is in the

country illegally. RIVERA-Munoz stated he understood. RIVERA-Munoz denied any

knowledge about the narcotics even though they were located in the backpack that was at his

feet. Investigators concluded the interview at approximately 1715 hours.

       18.    On February 13, 2025, SA Walt Stauffer checked law enforcement immigration

databases for RIVERA-Munoz. The database showed that RIVERA-Munoz entered the United

States on a H2A Visa for seasonal agricultural work. The visa expired in 2022. RIVERA-Munoz

is a citizen of Mexico and has no other authorization to be in the United States.

       19.    Your Affiant inspected the firearm that RIVERA-Munoz admitted to possessing.

The firearm is a Hatfield 410 Shotgun. Your Affiant is aware, based on training, experience, and

speaking to other officers, that there are no firearms manufactured in Colorado, including

Hatfield firearms.
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                                           Conclusion

       18.       Based upon the aforementioned information, events, and Your Affiant’s

training and experience, Your Affiant believes that there is probable cause to believe that on

February 13, 2025, within the state and Judicial District of Colorado, RIVERA-Munoz

violated of 18 U.S.C. 922(g)(5) – Possession of a Firearm by an Alien Unlawfully in the

United States.


                 Respectfully Submitted,


                                              s/ Joseph Crawford
                                              Joseph Crawford
                                              Special Agent
                                              HSI




Subscribed and sworn to before me by reliable electronic means on February 14, 2025.



                                              _________________________________________
                                              THE HON. JAMES M. CANDELARIA
                                              UNITED STATES MAGISTRATE JUDGE
